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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

ST. MICHAEL’S MEDIA, INC.                                      )
                                                               )
                                                               )
                                       Plaintiff,              )
       v.                                                      ) Civil No. 1:21-CV-02337 (ELH)
                                                               )
THE CITY OF BALTIMORE , et al.,                                )
                                                               )
                               Defendants.                     )
                                                               )
                                                               )

   SMG’S MOTION IN OPPOSITION TO PLAINTIFF’S AMENDED MOTION FOR
                      PRELIMINARY INJUNCTION


       Defendant SMG, by undersigned counsel, submits this Opposition to Plaintiff’s Amended

Motion for Preliminary Injunction and states as follows:

       SMG joins in the opposition filed by Defendants Mayor and City Council of Baltimore,

James L. Shea, and Brandon M. Scott (collectively and individually the “City”) and hereby

incorporates by reference the Memorandum of Law in Support of the City’s Opposition to

Plaintiff’s Amended Motion for Preliminary Injunction.

       WHEREFORE, for the reasons set forth above, SMG respectfully requests that this

Honorable Court grant its Motion in Opposition to Plaintiff’s Amended Motion for Preliminary

Injunction and grant such further relief as the nature of this case shall require.
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Dated: September 23, 2021                        Respectfully Submitted,

                                                 /s/ Renita L. Collins
                                                 RENITA L. COLLINS (#28637)
                                                 Chief Solicitor
                                                 HANNA MARIE C. SHEEHAN (#19531)
                                                 Chief Solicitor
                                                 Baltimore City Law Department
                                                 100 N. Holliday Street
                                                 City Hall Baltimore, MD 21202
                                                 Phone: 410-396-3930
                                                 Fax: 410-547-1025
                                                 Renita.Collins@baltimorecity.gov
                                                 Hanna.Sheehan@baltimorecity.gov
                                                 Counsel for Defendants Mayor and City
                                                 Council of Baltimore, James L. Shea,
                                                 Brandon M. Scott, and SMG




                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 23rd day of September 2021, SMG’s Opposition to

Plaintiff’s Amended Motion for Preliminary Injunction was served via the Court’s CM/ECF

electronic filing system on Counsel of Record.


                                            /s/ Renita L. Collins
                                            RENITA L. COLLINS (#28637)
